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     <:o.AO 245B (CASD) (tev. 12111) Judgment in a Criminal Case
                Sheet I




                                                UNITED STATES DISTRICT COU~bCT 23 JUst : 5
                                                  SOUTHERN DISTRICT OF CALIFORNIA    ' 8 4
                                                                                                             .(   ",---,.   ,"            j ,



                     UNITcDSTATESOFAMEruCA                                        JUDGMENT INcA"ClUMINAL CA;SWr,,:.
                                          v.                                      (For Offenses commi::W or After November ~'f~~!:7)
                          LtSTER ECKSTEIN-PAZ (5)                                 Case Number: II CR5524-H
                            :also known as: Mentiroso
                                                                                  Ricardo M. Gonzalez
                                                                                  Defendant's Attomey
    REGISTRATION ~O. 61882-112
    o                      .,
    THE DEFENDANt:
    [8J pleaded guil~ to count(s) _1_o_f_th_e_I_n_dl_·c_tm_e;...n_t._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    o     was found gudty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea orbot guilty.
          Accordingly, f,e defendant is adjudged guilty of such count(s), which involve the following offense(s):
                            I                                                                                                               Count
    Title & Section                            Nature of Offense                                                                           Number(s)
18 USC 371                               CONSPIRACY TO BRING IN ILLEGAL ALIENS FOR FINANCIAL GAIN
                                         AND TRANSPORT ILLEGAL ALIENS




                                ~
        The defendant is .entenced as provided in pages 2 through     _4_ _ o fthisjudgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has b~n found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 o Count(s)                     i                                                  is   0    areD dismissed on the motion ofthe United States.
 [8J Assessment: $100.01l.
                                "




 [8J Fine waived
       IT IS ORDERED        t       Ii               0 Forfeiture pursuant to order filed                                        , included herein.
                             the defendant shall notify the United States Attorney for this district within 30 days of any change ofname, residence,
 or mailing address until a fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the urt and United States Attorney of any material change in the defendant's economic circumstances.

                                                                              OCTOBER 19,2012



                                                                             DmM~::i;:h~       ,        L. HUFF


                                                                                                                                                 l1CR5524-H
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AO 2458 (CASD) (Re,,\ 1211 I) Judgment in a Criminal Case
           Sheet 2 ~ Imprisonment
                                                                                                    Judgment - Page _ _2__ of        4
 DEFENDANT: lESTER ECKSTEIN-PAZ (5)
 CASE NUMBEk: llCR5524-H
                                                              IMPRISONMENT
         The defe~nt is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         18 MONtHS.



      o Sentence ilnposed pursuant to Title 8 USC Section 1326(b).
      181 The court If.akes
                     , the following recommendations to the Bureau ofPrisons:
          The Courtlrecommends placement in the Western Region.




      o The defenfant is remanded to the custody ofthe United States Marshal.
      o The defenlant shall surrender to the United States Marshal for this district:
            Oat       I!
                      !                              Oa.m.       Op.m.      on _ _ _ _ _ _ _ _ _ _ _ __

                as nctified by the United States Marshal.
                    i
      181 The defen4ant  shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           181 befor. or on Friday November 30,2012 by 12:00 P.M.
           o no,fied by the United States Marshal.
                as

           o as no.fied by the Probation or Pretrial Services Office.
                           r,

                                                                    RETURN

 I have executed t'is judgment as follows:
                           "
         Defendant dfivered on                                                          to

                           I                           ' with a certified copy of this judgment.
                           f
                           t;'

 at
                            "g
                            !
                                                                                                   UNITED STATES MARSHAL

                                                                          By
                                                                                              DEPUTY UNITED STATES MARSHAL




                                                                                                                                llCRSS24-H
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AO 2458 (CASD) (Raj;. 12111)Judgment in a Criminal Case
           Sheet 3   -+
                     Supervised Release
                                                                                                               Judgment-Page    --1..- of _ _4..=-_ _
DEFENDANT: qESTER ECKSTEIN-PAZ (5)                                                                     a
CASE NUMBER: llCR5524-H
                      !                                    SUPERVISED RELEASE
                      I
Upon release from 6nprisonment, the defendant shall be on supervised release for a term of:
2 YEARS.              I
                      r
         The defen~'ant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Breau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offonses commi ted on or after September 13, 1994:
                    I
The defendant ShaIl ot illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The def" dant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests

                      E
thereafter as determ ned by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervis n, unless otherwise ordered by court.                                          -­

o      The above drut testing condition is susp':,nded, based on the court's determination that the defendant poses a low risk of
       future substan e abuse. (Check, if applicable.)

~      The defendantfhall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant s all cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
~      Backlog Elimin tion Act of2000,.pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o      The detendant s all comply with tfie requirements of the Sex Offender Registration ana Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted 0 a qualifYing offense. (Check if applicable.)
o The defendant thaIl
                !
                      participate in an approved program for domestic violence. (Check, if applicable.)
          If this jUd~ent imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that rains unpaid at the commencement ofthe term of supervised release in accordance with the Schedule of Payments set
forth in this judgme .
        The defendlnt must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditio;{s imposed.


                          \               STANDARD CONDITIONS OF SUPERVISION
                          I
  \)     the defendantrhall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant~hall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant Fhall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant~hall support his or her dependents and meet other family responsibilities;
  5)     the defendant~hal\ work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable re.ons;
                          I
  6)     the defendant hall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant hall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled su tance or any paraphernalia related to any controlled substances, except as prescribed by a phySician;
  8)     the defendant hall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant hall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unle granted permission to do so by the probation officer;
 10)     the defendant thall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband ob'erved in plain view of the probation officer;
 11)     the defendant        all notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant hall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of he court; and
 13)     as directed by e probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or pers nal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant'S co pliance with such notification requirement.

                                                                                                                                           l1CR5524-H
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       AO 245B (CASD) (It:v, 12111 Judgment in a Criminal Case
                  Sheet" - Special Conditions
                                                                                                            Judgment-Page   --A-.. of _ _4:...._ _
       DEFENDANT:ILESTER ECKSTEIN-PAZ (5)                                                               a
       CASE NUMBBR: 11 CR5524-H




                          .                    SPECIAL CONDITIONS OF SUPERVISION
I8l Submit person, res$'nce, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, ased upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be gro    for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
                          !
o   If deported, exclude" or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o Not transport, harbo~ or assist undocumented aliens.
                            I


o   Not associate with u4documented aliens or alien smugglers.

o   Not reenter the unii States illegally.
I8l Not enter or reside i the Republic of Mexico without written permission of the Court or probation officer.
~ Report all vehicles 0 ned or operated, or in which you have an interest, to the probation officer.
o Not possess any na tic drug or controlled substance without a lawful medical prescription.
o   Not associate with          own users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o   Participate in a progr m of mental health treatment as directed by the probation officer. The Court authorizes the release of the presentence
    report and available sychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
    release of informatio between the probation officer and the treatment provider. May be required to contribute to the costs of services
    rendered in an amou t to be determined by the probation officer, based on the defendant's ability to pay.

o   Take no medication ~ntaining a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed. '
o Provide complete distlosure of personal and business financial records to the probation officer as requested.
o   Be prohibited from 0 ening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
o   Seek and maintain fu time employment and/or schooling or a combination of both.
o   Resolve all outstandi g warrants within                days.
o   Complete           ho         of community service in a program approved by the probation officer within
o Reside in a Residenti I Reentry Center (RRC) as directed by the probation officer for a period of
I8l Participate in a progr   of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. All w for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the cost of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




                                                                                                                                              llCR5524-H
